         Case 1:94-cv-02541-ELH Document 738 Filed 07/27/21 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


JEROME DUVALL, et al.,                               *

       Plaintiffs,                                   *

v.                                                   *   Civil Action No. ELH-94-2541

LAWRENCE HOGAN, et al.,                              *

       Defendants.                                   *

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  PLAINTIFFS’ MOTION TO ENFORCE THE SETTLEMENT AGREEMENT (¶ 32)
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                                       INTRODUCTION

       Raymond F. Patterson, M.D., the mental health Monitor designated in the Settlement

Agreement (ECF 541-2, ¶ 32), has tendered his resignation. Declaration of David C. Fathi, filed

herewith (“Fathi dec.”), Exh. 1. Paragraph 32 of the Settlement Agreement requires that “[i]f any

of the Monitors ceases to function as Monitor before the termination of this Settlement Agreement,

the parties shall confer in an attempt to agree upon a successor monitor.” ECF 541-2, ¶ 32.

Because Defendants have unfortunately declined to engage in this process, Plaintiffs file this

motion seeking an order compelling Defendants to do so.

                                   STATEMENT OF FACTS

       On May 14, 2021, Dr. Patterson tendered his resignation as mental health Monitor,

effective June 30, 2021. Fathi dec., Exh. 1. In his letter of resignation, Dr. Patterson recommended

three psychiatrists as possible replacement mental health Monitors, including Pablo Stewart, M.D.

Id.

       On June 30, Plaintiffs wrote to Defendants, invoking the requirements of ¶ 32 of the

Settlement Agreement and asking if Defendants would agree to Dr. Stewart as the new mental


                                                 1
         Case 1:94-cv-02541-ELH Document 738 Filed 07/27/21 Page 2 of 4



health Monitor. Fathi dec., Exh. 2. Nearly a month later, Defendants have failed to respond to

this simple question, despite repeated follow-up requests by Plaintiffs.

       On July 15, having received no response to their June 30 letter, Plaintiffs wrote to

Defendants, asking for a response and reminding them that “[t]he parties need to act promptly to

replace Dr. Patterson as mental health Monitor in order to avoid delaying the Fall 2021 monitoring

cycle.” Fathi dec., Exh. 3. That same day, Defendants responded, “[w]e have been looking into

your recommended choice and exploring other qualified individuals. I expect to let you know

something next week [that is, the week of July 19].” Id. Despite this representation by Defendants,

no response was received by Plaintiffs the week of July 19, and none has been received to date.

       On July 21, Plaintiffs wrote to Defendants, asking yet again for a response to their June 30

letter. Id. Defendants once again declined to state whether they would agree to Dr. Stewart, and

revealed for the first time that they “are engaged in talks with another prospective candidate. … The

candidate understands that the defendants need to communicate with you about selecting a monitor

this week [that is, the week of July 19].” Id. In response to Plaintiffs’ inquiry, Defendants refused to

identify this candidate, or to state whether he or she is among the candidates recommended by Dr.

Patterson. Id. Plaintiffs have received no further communication from Defendants about this matter,

and have still received no response to their nomination of Dr. Stewart. Fathi dec., ¶ 5.

                                            ARGUMENT

       This Court has repeatedly recognized its power to enforce the Settlement Agreement. See ECF

674, 684, 723. Defendants’ stubborn refusal, despite repeated requests, to engage with Plaintiffs

regarding their nomination of a possible replacement monitor cannot be reconciled with the mandatory

requirement of ¶ 32 that the parties “shall confer in an attempt to agree upon a successor monitor.”

Nor is Defendants’ inexplicable refusal even to identify the candidate with whom they are

communicating, or to state whether that candidate is among those recommended by Dr. Patterson,



                                                   2
          Case 1:94-cv-02541-ELH Document 738 Filed 07/27/21 Page 3 of 4



consistent with the Settlement Agreement’s requirements. Once again, Defendants’ conduct

unfortunately requires the Court’s intervention.

                                         CONCLUSION

         For all of these reasons, the Court should order Defendants to immediately confer in good

faith with Plaintiffs regarding a replacement mental health Monitor, including (1) responding to

Plaintiffs’ nomination of Dr. Stewart, and (2) identifying any and all candidates with whom

Defendants are discussing the Monitor position.


Dated:    July 27, 2021                                     Respectfully submitted,

                                                            /s/David C. Fathi
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                                                   3
Case 1:94-cv-02541-ELH Document 738 Filed 07/27/21 Page 4 of 4



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                              4
